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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
UNITED STATES OF AMERICA,                                     :
                                                              :
                          Plaintiff,                          : Hon. Katherine Polk Failla
                                                              :
        v.                                                    : No. 1:23-cr-00430-KPF
                                                              :
ROMAN STORM and ROMAN SEMENOV,
                                                              :
                          Defendants.                         :
                                                              :
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                            NOTICE OF WITHDRAWAL OF COUNSEL

        PLEASE TAKE NOTICE that, upon the accompanying Declaration of Tessa Gellerson,

Amicus Curiae the Blockchain Association will move this Court for an Order allowing Ms.

Gellerson to withdraw as counsel for the Blockchain Association. In support of such notice and

in conformance with Local Rule 1.4 of the United States District Courts for the Southern and

Eastern District of New York, undersigned counsel states that as of August 8, 2024, she is

departing the law firm of Gibson, Dunn & Crutcher LLP, which will continue to represent the

Blockchain Association in this matter.

Dated: August 8, 2024                                         Respectfully submitted,

                                                     GIBSON, DUNN & CRUTCHER LLP

                                                     By: /s/ Tessa Gellerson
                                                        Tessa Gellerson
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                                                          Counsel for Amicus Curiae the Blockchain
                                                          Association


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